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  6
                           UNITED STATES BANKRUPTCY COURT
  7
                   CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
  8
  9                                                 Case No.: 8:16-bk-10223-ES
      In re:
 10                                                 Chapter 7
      KENT W. EASTER,
 11                    Debtor.                      Adv. No.: 8:16-ap-01114-ES
      __________________________________
 12
      KELLI C. PETERS, BILL PETERS, and             STIPULATION BETWEEN PLAINTIFFS AND
 13                                                 DEFENDANT TO CONTINUE PRETRIAL
      SYDNIE PETERS,
                                                    CONFERENCE AND DEADLINES
 14
                      Plaintiff,
 15                                                 Pretrial Conference:
                                                    Date: August 17, 2017
      v.
 16                                                 Time: 9:30 a.m.
                                                    Ctrm: 5A
 17   KENT W. EASTER,
                                                    Proposed Continued Pretrial Conference:
 18                   Defendant.                    Date:
                                                    Time: 9:30 a.m.
 19                                                 Ctrm.: 5A
 20
 21
               TO THE HONORABLE ERITHE A. SMITH, UNITED STATES BANKRUPTCY
 22
      JUDGE, AND ALL PARTIES IN INTEREST:
 23
               This stipulation is entered into by and among Plaintiff KELLI C. PETERS, BILL
 24
      PETERS, and SYDNIE PETERS (“Plaintiffs”) and defendant KENT W. EASTER (“Defendant”)
 25
      by and through their respective counsel. The Plaintiff and Defendant are collectively referred to
 26
      as the “Parties”.
 27
      ///
 28



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                                                Robert Marcereau
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  1                             PROOF OF SERVICE OF DOCUMENT
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is: 18101 Von Karman Avenue, Suite 1200, Irvine, CA 92612
  3   A true and correct copy of the foregoing document entitled (specify): STIPULATION BETWEEN
      PLAINTIFFS AND DEFENDANT TO CONTINUE PRETRIAL CONFERENCE AND DEADLINES will be
  4   served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
      and (b) in the manner stated below:
  5
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  6   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On (date) August 14, 2017, I checked the CM/ECF docket for this bankruptcy
  7   case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
      List to receive NEF transmission at the email addresses stated below:
  8
             Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
  9          Weneta M Kosmala (TR) ecf.alert+Kosmala@titlexi.com,
              wkosmala@txitrustee.com;dmf@txitrustee.com;kgeorge@kosmalalaw.com
 10          Robert H Marcereau , nlipowski@mncalaw.com
             United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
 11
                                                         Service information continued on attached page
 12
      2. SERVED BY UNITED STATES MAIL:
 13   On (date) August 14, 2017, I served the following persons and/or entities at the last known addresses in
      this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
 14   envelope in the United States mail, first class, postage prepaid, and addressed as follows: Listing the judge
      here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
 15   document is filed.

 16
                                                         Service information continued on attached page
 17
 18   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL:
      (state the method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
 19   (date) August 14, 2017, I served the following persons and/or entities by personal delivery, overnight mail
      service, or (for those who consented in writing to such service method), by facsimile transmission and/or
 20   email as follows: Listing the judge here constitutes a declaration that personal delivery on, or overnight
      mail to, the judge will be completed no later than 24 hours after the document is filed.
 21
           The Honorable Erithe A. Smith, USBC, 411 West Fourth Street, Santa Ana, CA 92701
 22
                                                         Service information continued on attached page
 23   I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
 24    August 14, 2017           Kerry A. Murphy                             /s/Kerry A. Murphy
       Date                     Printed Name                                 Signature
 25
 26
 27
 28



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